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       EXHIBIT A
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
                 Acuity Brands Lighting, Inc.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:19-cv-02207-MN
               Ultravision Technologies, LLC                                  )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                     Lighting Science Group Corporation through its agent for service Capitol Services, Inc.
                                               1675 S State St Ste B, Dover, DE 19901
                                                       (Name of person to whom this subpoena is directed)

       ✔
       ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Schedule A.



  Place: Duane Morris LLP                                                               Date and Time:
           1075 Peachtree Street, Suite 1700                                                                 07/14/2021 9:00 am
           Atlanta, GA 30309

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        06/29/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                   /s/ Richard L. Renck
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature

 The name, address, e-mail address, and telephone number of the attorney representing (name of party)                                 Plaintiff/Counter
Defendant, Acuity Brands Lighting, Inc.                                                          , who issues or requests this subpoena, are:
Richard L. Renck, Esq., Duane Morris LLP, 1201 N. Market St., Ste 501, Wilmington, DE 19801, (302) 657-4906
 rlrenck@duanemorris.com
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:19-cv-02207-MN

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                          SCHEDULE A

                                          DEFINITIONS

       The following definitions apply to this subpoena:

       1.      The terms “You,” “Your,” and “LSG” shall be interpreted, individually and/or

collectively, to refer to Lighting Science Group Corp., including all predecessors and subsidiaries;

as well as their employees, agents and representatives, present and former officers, directors, and

all other persons under their control or acting, or purporting to act, on their behalf.

       2.       “Ultravision” shall mean Ultravision Technologies, LLC, Ultravision Holdings

LLC, Active Media Services and Active International and its representatives including, but not

limited to, William Hall and David AuYeung.

       3.      “Document” shall be defined to the broadest extent permitted by the Federal Rules

of Civil Procedure.

       4.      “Communication” means any oral, written, or electronic transmittal of information

or request for information.

       5.      “Thing(s)” has the broadest meaning allowable under Fed. R. Civ. P. 34.

       6.      “Agreement(s)” shall mean any contract, transaction, license, or other arrangement

of any kind, whether conditional, executed, executory, express, or implied, and whether oral or

written, in which rights are granted or obligations are assumed. The term “agreement” shall

encompass completed, actual, contemplated, drafts of the agreements, or attempted agreements or

renewals of agreements.

       7.      “LED Lighting Product(s)” shall mean any LED lighting fixture for outdoor use

and that contains multiple LED packages with a lens over each LED package, and that provides

uniform illumination.
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          8.     “Philadelphia Study” shall mean a demonstration of solid-state lighting technology

used for roadway lighting conducted in Philadelphia, PA, between 2010 and 2012, which was

conducted by Pacific Northwest National Laboratory in conjunction with the City of Philadelphia,

and supported by the U.S. Department of Energy GATEWAY Solid-State Lighting Demonstration

Program and the Department of Energy Municipal Solid-State Lighting Consortium, and led to a

report entitled “Demonstration of Assessment of LED Roadway Lighting,” published in

September 2012.

          9.     “Referring to,” “relating to,” “refer or relate to,” “reflecting,” “concerning,” and

“regarding” shall be construed in their broadest sense to require information or documents that

constitute, concern, comprise, pertain to, mention, explain, evidence, describe, refer to (directly or

indirectly), reflect, contradict, support, define, memorialize, comment upon, or summarize the

subject of the request for documents and things.

                                          INSTRUCTIONS

          The following instructions apply to each request for production unless otherwise explicitly

stated.

          1.     The Requests set forth below call for any Document, Communication or Thing that

is in Your possession, custody, or control at the present time, or coming into your possession,

custody, or control prior to the date of the production. If You know of the existence, past or

present, of any Documents, Communications, or Things requested below, but are unable to

produce such Document, Communication, or Thing because they are not presently in Your

possession, custody, or control, You shall identify such Documents, Communications, or Things

and the person who has possession, custody, or control of the Documents, Communications, or

Things.




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        2.      All electronic documents and records must be produced with an explanation

sufficient to render the records and information intelligible.

        3.      All documents must be produced in a form that renders them susceptible to copying.

        4.      State, for each Request, whether or not there exists any Documents,

Communications or Things within the scope of the Request and whether any such Documents,

Communication or Things are within Your possession, custody, or control, or You are aware that

a Third party is in possession, custody, or control of any such Documents, Communications, or

Things and the identity of that Third party.

        5.      If no Documents, Communication, or Things available to You are responsive to a

particular Request, You are directed to state that no responsive Documents, Communications, or

Things are available to You and the reason the Documents, Communications, or Things are not

available to You.

        6.      If You withhold any Document, Communication, or Thing, or portion thereof in

response to any of the Requests set forth below on grounds of privilege or any other claim of

immunity from discovery, then for each Document, Communication, or Thing, or portion thereof

withheld, state the following: (a) the type of Document, Communication, or Thing (e.g., letter,

email, memorandum, contract, etc.); (b) its title; (c) its date; (d) its subject matter (i.e., a summary

of subject matter sufficient to permit the judge to reach a determination in the event Defendant

moves to compel pursuant to Fed. R. Civ. P. 37); (e) the name, title, and business address of each

person who signed or prepared each such Document, Communication, or Thing and the name, title,

and business address of each person who has edited, corrected, revised, or amended the Document,

Communication, or Thing; (f) the name, title, and business address of each person to whom each

such Document, Communication, or Thing was communicated or made available, or otherwise




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known to you as being an intended or actual recipient of a copy thereof; (g) the grounds on which

the Document, Communications, or Thing is being withheld (e.g., “attorney-client privilege,”

“work product immunity,” etc.). Further, to the extent the claim of privilege or immunity is not

being asserted as to the entirety of a Document, Communication, or Thing, produce in redacted

form that portion of the Document, Communication, or Thing not covered by such claim of

privilege and/or immunity.

       7.      Documents including electronically stored information shall be produced in their

native format with metadata, as kept in the ordinary course of business. Documents that exist only

on paper shall be scanned and produced in .tiff format along with the corresponding load files.

Any copy, version, or duplicate of a Document, Communication, or Thing that has a comment or

notation that is not a part of the original text, is to be considered a separate Document,

Communication, or Thing.

       8.      If a Document, Communication, or Thing is in a language other than English and

an English translation exists, provide both the Document, Communication, or Thing and the

English translation.

       9.      These Requests should be read in the most inclusive manner possible. Accordingly:

(1) the singular shall include the plural and the plural shall include the singular whenever necessary

to bring within the scope of these Requests information that might otherwise be outside their scope;

(2) “and” as well as “or” shall be construed either disjunctively or conjunctively as necessary to

bring within the scope of these Requests information and documents that might otherwise be

construed to be outside their scope; (3) “each” shall be construed to include the word “every” and

“every” shall be construed to include the word “each”; (4) “any” shall be construed to include the

word “all” and “all” shall be construed to include the word “any”; (5) “include” or “including”




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means including but not limited to, and should not be read to limit the scope of any particular

Request, but merely as illustrative of some information that would be responsive; (6) all tenses

include the past, present, and future tenses; and (7) any pronoun shall be construed to refer to the

masculine, feminine, or neuter gender as in each case is most appropriate.

       10.     If the meaning of any term in these Requests is unclear, You should assume a

reasonable meaning, state what the assumed meaning is, and produce documents on the basis of

that assumed meaning.

       11.     Because these discovery Requests are continuing under Fed. R. Civ. P. 26(e), You

remain under a duty to continue investigation and supplement or amend your response(s) in a

timely manner.

       12.     You may designate produced documents according to the terms of the Protective

Order in the underlying litigation, Acuity Brands Lighting, Inc. v. Ultravision Technologies, Case

No. 1-19-cv-02207 (D. Del.), Dkt. 43 (attached as Exhibit A). Acuity will honor any such

designations under the Protective Order.

                                   DOCUMENT REQUESTS

       1.      Documents sufficient to show any and all technical specifications, designs, and any

other needs for LED Lighting Products made, used or sold by LSG and other industry participants

before July 30, 2012.

       2.      Documents sufficient to show any and all technical specifications, designs, and any

other needs for LED Lighting Products bearing the name “Prolific RoadWay” that were made,

used, or sold by LSG before July 30, 2012.

       3.      Documents sufficient to show any and all development and testing of LED Lighting

Products bearing the name “Prolific RoadWay” prior to July 30, 2012.




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       4.     Documents sufficient to show marketing and/or offers for sale of LED Lighting

Products bearing the name “Prolific RoadWay” prior to July 30, 2012.

       5.     Documents sufficient to show public uses or demonstrations of LED Lighting

Products bearing the name “Prolific RoadWay” prior to July 30, 2012.

       6.     Documents sufficient to show public uses or demonstrations of LED Lighting

Products at the Lightfair Trade show in 2009.

       7.     Documents sufficient to show public uses or demonstrations of LED Lighting

Products at the Lightfair Trade show in 2010.

       8.     Documents sufficient to show public uses or demonstrations of LED Lighting

Products at the Lightfair Trade show in 2011.

       9.     Documents sufficient to show public uses or demonstrations of LED Lighting

Products at the Lightfair Trade show in 2012.

       10.    All Communications between LSG and Ultravision relating to any LED Lighting

Product.

       11.    All Documents relating to the Philadelphia Study.

       12.    All Documents relating to the design, development, testing, marketing of LED

Lighting Products bearing the name “Prolific RoadWay” that was used in the Philadelphia Study.




                                                6
